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                                        UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF MASSACHUSETTS


In Re:    Richard M. Shove and Kathleen E. Shove,                           Chapter: 7
          Debtor                                                            Case No: 17−31052
                                                                            Judge Elizabeth D. Katz



                                     NOTICE OF NONEVIDENTIARY HEARING

PLEASE TAKE NOTICE that a HEARING will be held on 5/10/18 at 10:00 AM before the Honorable Judge
Elizabeth D. Katz, United States Courthouse, 300 State Street, Berkshire Courtroom, Third Floor, Springfield, MA
01105−2925 to consider the following:

             [97] Motion of Debtors to Strike Creditor's Memorandum in Support of Opposition to
             Debtor's Motion to Avoid Judicial Lien and Affidavit of Cynthia Spinola, Esq.

OBJECTION/RESPONSE DEADLINE:

If no deadline is set, the objection/response deadline shall be governed by the Federal Rules of Bankruptcy
Procedure (FRBP) and the Massachusetts Local Bankruptcy Rules (MLBR). If no objection/response is timely
filed, the Court, in its discretion, may cancel the hearing and rule on the motion without a hearing or further notice.
See MLBR 9013−1(f).


THE MOVING PARTY IS RESPONSIBLE FOR:

      1. Serving a copy of this notice upon all parties entitled to notice forthwith; and

      2. Filing a certificate of service with respect to this notice seven (7) days after the date of issuance set forth
         below. If the hearing date is less than seven (7) days from the date of issuance, the certificate of service
         must be filed no later than the time of the hearing. If the movant fails to timely file a certificate of
         service, the court may deny the motion without a hearing.

NOTICE TO ALL PARTIES SERVED:

      1. Your rights may be affected. You should read this notice, the above referenced pleading and any related
         documents carefully and discuss them with your attorney, if you have one. If you do not have an attorney,
         you may wish to consult one.

      2. Any request for a continuance MUST be made by WRITTEN MOTION filed and served at least one (1)
         business day prior to the hearing date. See MLBR 5071−1.

      3. The above hearing shall be nonevidentiary. If, in the course of the nonevidentiary hearing, the court
         determines the existence of a disputed and material issue of fact, the court will schedule an evidentiary
         hearing. If this is a hearing under section 362, it will be a consolidated preliminary and final
         nonevidentiary hearing unless at the conclusion thereof the court schedules an evidentiary hearing.


Date:4/26/18                                                                By the Court,

                                                                            Stephen Reynolds
                                                                            Deputy Clerk
                                                                            413−785−6909

Emergency Closings: To find out if the Court will be closed in case of stormy weather or other emergency, dial (617) 748−5314 or (866)
419−5695 (toll free) for a recorded message.
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                            qUNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS
                                  WESTERN DIVISION
___________________________________
In re:                                  ]
       Richard M. Shove                 ]
       & Kathleen E. Shove,             ]                Chapter 7
                     Debtors            ]                Case No. 17-31052
___________________________________]

                      CERTIFICATE and AFFIDAVIT OF SERVICE

        I, Carrie Naatz, certify that on this day I electronically filed the enclosed NOTICE OF
 NONEVIDENTIARY HEARING with the United States Bankruptcy Court for the District of
 Massachusetts using the CM/ECF System and thereby served the foregoing document on the
 following CM/ECF participants:
       Stephanie E. Babin on behalf of Creditor Citibank, N.A., not in its individual capacity,
       but solely as trustee of NRZ Pass-Through Trust VI
       Stephanie E. Babin on behalf of Creditor DiTech Financial LLC
       Joseph Dolben on behalf of Creditor THE BANK OF NEW YORK MELLON f/k/a THE
       BANK OF NEW YORK as Trustee for FIRST HORIZON ALTERNATIVE
       MORTGAGE SECURITIES TRUST 2006-FA1
       Kenneth P. Ferris on behalf of Creditor Jose Hernandez
       Jack E. Houghton
       Jack E. Houghton, Jr. on behalf of Trustee Jack E. Houghton
       Richard King
       Joseph J. Lange on behalf of Creditor Witman Properties, Inc.
       Marcus Pratt on behalf of Creditor Wells Fargo Bank, National Association

I further certify that I have this date served a copy of same by first-class mail, postage prepaid,
on the following non-CM/ECF participant:
       Richard M. Shove
       Kathleen E. Shove
       PO Box 392
       Lenox, MA 01240

   Jose R. Hernandez
   PO Box 984
   Pittsfield, MA 01201


       Dated: April 27, 2018                         /s/ Carrie Naatz_____________
                                                     Carrie Naatz, BBO # 651728
                                                     1111 Elm Street, #28
                                                     West Springfield, MA 01089
                                                     (413) 336-8300 Tel
                                                     (413) 424-3292 Fax
                                                     Office@NaatzLaw.com
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